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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


Riggs Technology Holdings, LLC,                             Case No. 1:18-cv-01105-MN
       Plaintiff,                                           Patent Case
       v.                                                   Jury Trial Demanded
Medscape, LLC; Web MD, LLC

       Defendants.



                    SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Riggs Technology Holdings, LLC (“Riggs”), through its attorney, complains of

Medscape, LLC and WebMD, LLC (“Defendants”), and alleges the following:

                                                PARTIES

       1.      Plaintiff Riggs Technology Holdings, LLC is a corporation organized and existing

under the laws of New Mexico and maintains its principal place of business at 117 Bryn Mawr

Drive SE, Ste 101, Albuquerque, NM 87106.

       2.      Defendant Medscape, LLC is a corporation organized and existing under the laws

of Delaware that maintains its principal place of business at 395 Hudson Street, 3rd Floor, New

York, NY 10014.


       3.      Defendant WebMD, LLC is a corporation organized and existing under the laws

of Delaware that maintains its principal place of business at 1201 Peachtree Street, NE, 400

Colony Square, Suite 2100, Atlanta, GA 30361.




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                                               JURISDICTION

        4.     This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

        5.     This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

        6.     This Court has personal jurisdiction over Defendants because they have engaged

in systematic and continuous business activities in the District of Delaware. Specifically,

Defendants provide their full range of services to residents in this District. As described below,

Defendants have committed acts of patent infringement giving rise to this action within this

District.

                                               VENUE

        7.     Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendants

have committed acts of patent infringement in this District and are incorporated in Delaware. In

addition, Riggs has suffered harm in this district.

                                          PATENT-IN-SUIT

        8.     Riggs is the assignee of all right, title and interest in United States Patent No.

7,299,067 (the “’067 Patent”) (hereinafter “Patent-in-Suit”), including all rights to enforce and

prosecute actions for infringement and to collect damages for all relevant times against infringers

of the Patent-in-Suit. Accordingly, Riggs possesses the exclusive right and standing to prosecute

the present action for infringement of the Patent-in-Suit by Defendants.

The ’067 Patent

        9.     On November 20, 1997, the United States Patent and Trademark Office issued the

’067 Patent. The ’067 Patent is titled “Methods and Systems for Managing the Provision of




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Training Provided Remotely through Electronic Data Networks to User of Remote Electronic

Devices.” The application leading to the ’067 Patent was filed on October 11, 2002, which

claims priority from provisional application number 60/329,088, which was filed on October 12,

2001. A true and correct copy of the ’067 Patent is attached hereto as Exhibit A and

incorporated herein by reference.

       10.       The ’067 Patent is valid and enforceable.

       11.       The inventors recognized that there was a need for a more effective and efficient

means of training in the workforce. Ex. A, 1:39–48.

       12.       The ’067 Patent describes systems and methods in which a hand-held device

remotely provides interactive online education and training managed by an application server.

Ex. A, 4:4–25.

                              COUNT I: INFRINGEMENT OF THE ’067 PATENT

       13.       Riggs incorporates the above paragraphs herein by reference.

14. Direct Infringement. Defendants have been and continue to directly infringe at least claim

      1 of the ’067 Patent in this District and elsewhere in the United States by performing the

        steps of “managing training completed remotely at a hand held device,” for example,

    Defendants’ application gives users training in the health and medical fields on their mobile

    devices. Defendants’ application servers send users training videos and assignments to their

     smartphones or tablets. Once users log into the mobile application, they can choose from

      multiple training courses and videos in their desired field and area of specialization. The

    application tracks users’ progress towards earning certification and course credit. See Figure




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        1; https://itunes.apple.com/us/app/medscape-cme-education/id1006678314?mt=8




 Figure 1. Defendants’ product gives users training in the health and medical fields on their
                                      mobile devices.

15. The Defendants’ product performs the steps of claim element 1(a): “receiving at a training

        server through a data network from a user of a hand held device, the training data

     representing training taken by the user at hand held device.” For example, Defendants’

   application servers send users training videos and assignments to their smartphone or tablet

              and tracks their progress towards earning course credit. See Figure 2;




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             https://itunes.apple.com/us/app/medscape-cme-education/id1006678314?mt=8.




 Figure 2. Defendants’ application servers send users training videos and assignments to their
        smartphone or tablet and tracks their progress towards earning course credit.

       16.      The Defendants’ product performs the steps of claim element 1(b): “receiving

identifying information for the user of a hand held device concurrently with the training data

file.” For example, users must enter a username and password to access Defendants’ application.

Defendants’ application server receives users’ login information to identify them and accesses

their training data. See Figure 3; https://itunes.apple.com/us/app/medscape-cme-

education/id1006678314?mt=8.




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   Figure 3. Users must enter a username and password to access Defendants’ application.

       17.     The Defendants’ product performs the steps of claim element 1(c): “identifying

the user of the hand held device.” For example, users must enter a username and password to

access Defendants’ application. See Figure 3.

       18.     The Defendants’ product performs the steps of claim element 1(d):

“authenticating the identity of the user of hand held device by requesting authentication data

from the user and comparing the authentication data with a master identification template

containing authentication data associated with the user and accessible by the training server to

determine if said comparison authenticates the user’s identify (identity) as an authorized trainee.”

For example, Defendants’ application server receives users’ login information and compares

their login information against the login credentials of the users’ account. See Figure 3.




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 19. The Defendants’ product performs the steps of claim element 1(e): “recording the training

     data in memory associated with the training server.” For example, Defendants’ application

      and application server track users’ progress towards earned credits and certificates. See

                       Figure 4; https://www.medscape.com/public/cmeapp.




Figure 4. Defendants’ application and application server track users’ progress towards earned
                                   credits and certificates.

20. The Defendants’ product performs the steps of claim element 1(f): “locating at least one

   training file contained within the training data.” For example, once users log into the mobile

   application, they can choose from multiple training courses and videos in their desired field

   and area of specialization. See Figure 5; https://www.medscape.com/public/cmeapp.




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Figure 5. Once users log into the mobile application, Defendants’ product allows them to choose
   from multiple training courses and videos in their desired field and area of specialization.

       21.     The Defendants’ product performs the steps of claim element 1(g): “determining

the status of the training file by comparing the training file with an associated master training

template accessible from memory by the training server, the status including a determination if

training represented by the training file meets a set criterion including at least one of: pending,

incomplete, failed, passed.” For example, Defendants’ application server tracks users’ activities

credits and certificates through the Personal Credit Tracker and maintains a record of the user’s

progress. In addition, the Personal Credit Tracker maintains a record of all credits completed by

the user. See Figure 6; https://itunes.apple.com/us/app/medscape-cme-

education/id1006678314?mt=8.




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        Figure 6. Defendants’ application server tracks users’ activities, credits and certificates
        through the Personal Credit Tracker, and maintains a record of the user’s progress. In
        addition, the Personal Credit Tracker maintains a record of all credits completed by the
                                                 user.

       22.     The Defendants’ product performs the steps of claim element 1(h): “recording

training status in memory.” For example, Defendants’ mobile application also maintains a

record of information from the Personal Credit Tracker, including all information relating to the

user’s completion status of a program, which can be viewed on the user’s devices. See Figure 6.

       23.     Induced Infringement. Defendants have also actively induced, and continues to

induce, the infringement of at least claim 1 of the ’067 Patent by actively inducing its customers,

including merchants and end-users, to use the Defendants’ product in an infringing manner as

described above. Upon information and belief, Defendants have specifically intended that its

customers use the Defendants’ product that infringes at least claim 1 of the ’067 Patent by, at a

minimum, providing access to, support for, training and instructions for its website to its




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customers to enable them to infringe at least claim 1 of the ’067 Patent, as described above.

Even where performance of the steps required to infringe at least claim 1 of the ’067 Patent is

accomplished by Defendants and Defendants’ customers jointly, Defendants are responsible for

the actions that cause each of the steps of at least claim 1 of the ’067 Patent to be performed.

        24.     Riggs is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

        25.     Riggs will continue to be injured, and thereby caused irreparable harm, unless and

until this Court enters an injunction prohibiting further infringement.

                                                 JURY DEMAND

        26.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Riggs respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

WHEREFORE, Riggs asks this Court to enter judgment against Defendants, granting the

following relief:

       A.      A declaration that Defendants have infringed the Patent-in-Suit;

       B.      An award of damages to compensate Riggs for Defendants’ direct infringement of

               the Patent-in-Suit;

       C.      An order that Defendants and their officers, directors, agents, servants, employees,

               successors, assigns, and all persons in active concert or participation with them, be

               preliminarily and permanently enjoined from infringing the Patent-in-Suit under 35

               U.S.C. § 283;

       D.      An award of damages, including trebling of all damages, sufficient to remedy

               Defendants’ infringement of the Patent-in-Suit under 35 U.S.C. § 284;




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    E.    A declaration that this case is exceptional, and an award to Riggs of reasonable

          attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

    F.    An award of prejudgment and post-judgment interest; and

    G.    Such other relief as this Court or jury may deem proper and just.

                                 Respectfully submitted,

                                 /s/ Stamatios Stamoulis
                                 Stamatios Stamoulis #4606
                                 stamoulis@swdelaw.com
                                 Richard C. Weinblatt #5080
                                 weinblatt@swdelaw.com
                                 Two Fox Point Centre
                                 6 Denny Road, Suite 307
                                 Wilmington, DE 19809
                                 (302) 999-1540

                                 Isaac Rabicoff
                                 isaac@rabilaw.com
                                 Kenneth Matuszewski
                                 kenneth@rabilaw.com
                                 Rabicoff Law LLC
                                 73 W Monroe
                                 Chicago, IL 60603
                                 (773) 669-4590

                                 Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 11, 2018, I electronically filed the above documents

with the Clerk of Court using CM/ECF, which will send electronic notification of such filings

to all registered counsel.



                                           /s/Stamatios Stamoulis
                                           Stamatios Stamoulis (#4606)




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